
710 S.E.2d 24 (2011)
McCRANN, et al.
v.
NC DEPARTMENT OF HEALTH AND HUMAN SERVICES.
No. 74P11-1.
Supreme Court of North Carolina.
June 15, 2011.
James L. Conner, II, for McCrann, Michael Jonathan (Jr.), et al.
Janette Soles Nelson, Assistant Attorney General, for NC Department of Health And Human Services.
Richard Slipsky, Special Deputy Attorney General, for NC Department of Health And Human Services.
The following order has been entered on the motion filed on the 2nd of May 2011 by Respondent for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 15th of June 2011."
